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14
                           UNITED STATES DISTRICT COURT
15
                         CENTRAL DISTRICT OF CALIFORNIA
16
17   NAYONNA BREZINSKI, on behalf of              Case No. 5:20-cv-00347
     herself and all others similarly situated,
18                                                CLASS ACTION COMPLAINT
                                  Plaintiff,
19         v.                                     JURY TRIAL DEMANDED
20   GRACO CHILDREN’S PRODUCTS,
21   INC. and NEWELL BRANDS DTC,
     INC.,
22                       Defendants.
23
24
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     CLASS ACTION COMPLAINT
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1            Plaintiff Nayonna Brezinski (“Plaintiff”) brings this action on behalf of herself
2    and all others similarly situated against Defendants Newell Brands DTC, Inc.
3    (“Newell”) and Graco Children’s Products, Inc. (“Graco”) (together, “Defendants”)
4    for the manufacture, marketing, and sale of the Graco Little Lounger Rocking Seat,
5    the Graco Duet Glide LX Baby Infant Gliding Swing and Napper/Portable Sleeper,
6    and the Graco DreamGlider Gliding Seat and Sleeper. Plaintiff makes the following
7    allegations pursuant to the investigation of their counsel and based upon information
8    and belief, except as to the allegations specifically pertaining to themselves, which
9    are based on personal knowledge.
10                                NATURE OF THE ACTION
11           1.     This is a class action against Defendants Newell Brands DTC, Inc. and
12   Graco Children’s Products, Inc. for the manufacture and sale of Graco Little Lounger
13   Rocking Seats (the “Little Lounger”), the Duet Glide LX Baby Infant Gliding Swing
14   and Napper/Portable Sleeper (the “Duet Glide”), and the DreamGlider Gliding Seat
15   and Sleeper (the “DreamGlider”) (collectively the “Inclined Sleepers”) all of which
16   were marketed as suitable for infants.
17           2.     Infants up to 1 year of age sleep between 16 and 14 hours per day.
18   Newborn infants sleep up to 8 hours during the day.1 Infants ranging from 3 months
19   to 1-year sleep between 3 to 5 hours during the daytime.
20           3.     As such, infant loungers (i.e. sleepers) are highly desirable for parents
21   because they are designed to let babies rest comfortably, without the need for a crib
22   or mattress. Because babies sleep more than 50% of the day, parents seek easily
23   transportable sleepers believing that it is safe for the babies to sleep or nap in them
24   while they carry out daily tasks. Defendants designed, manufactured, marketed and
25   sold the Inclined Sleepers to meet this demand.
26           4.     Defendants designed, manufactured, distributed, marketed, and sold
27   three nearly identical products, all of which qualify as “sleepers:”
28   1
         https://www.stanfordchildrens.org/en/topic/default?id=infant-sleep-90-P02237
     CLASS ACTION COMPLAINT                                                                     1
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1            a. The Little Lounger is an inclined infant “lounge” that is advertised as
2               such. The name “Lounger” is prominently displayed on the boxes in
3               which the Lounges are sold. Additionally, other materials used to
4               promote the Lounges exclaim, “[t]hat this product was designed with
5               your baby’s comfort in mind,” and that “the cushioned deep seat has an
6               adjustable recline so that you can find just the right position for your
7               little one.” Other materials make similar statements about the Little
8               Lounger’s suitability for infants. This marketing was dangerously false
9               and misleading, as the product is not safe for infants.
10           b. The Duet Glide is an inclined infant “sleeper” that is advertised as such.
11              The name “Napper” or “Portable Sleeper” has been prominently
12              displayed on the boxes in which the Duet Glide is sold. Additionally,
13              other materials used to promote the Duet Glide exclaim, that “seat
14              conveniently doubles as a portable napper” and that the Duet Glide
15              offers “3 position recline for optimal comfort.” Other materials make
16              similar statements about the Duet Glide’s suitability for infants. This
17              marketing was dangerously false and misleading, as the product is not
18              safe for infants.
19           c. Similarly, the DreamGlider is an inclined infant “sleeper” that is
20              advertised as such. The name “Sleeper” is prominently displayed on the
21              boxes in which the DreamGliders are sold. Additionally, other
22              materials used to promote the DreamGliders exclaim, that “the plush
23              and roomy reclining seat makes nap time extra cozy” and that parents
24              can “gently lower the swing seat to create a cozy, reclined sleep space
25              [for] baby.” Other materials make similar statements about the
26              DreamGlider’s suitability for infants. This marketing was dangerously
27              false and misleading, as the product is not safe for infants.
28
     CLASS ACTION COMPLAINT                                                                2
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1          5.     The Inclined Sleepers are inherently unsafe and unfit for their intended
2    use. Their use poses a number of serious safety risks that can lead to infant death
3    and injury. By positioning an infant at an incline between 10 and 30 degrees, the
4    Inclined Sleepers significantly increases the risk that the infant’s head will slip into a
5    dangerous position, tilt to constrict the windpipe and/or cause the infant’s face to
6    become pressed against the padded fabric in the lounge and block airflow, which the
7    infant may be unable to correct. This increases the risk of death by asphyxiation.
8          6.     Defendants knew about these risks for as long as they sold the Inclined
9    Sleepers. Among other things: (1) the American Academy of Pediatrics (“AAP”)
10   and other consumer groups repeatedly issued warnings about the serious dangers of
11   inclined sleepers and (2) in April 2019 the Consumer Product Safety Commission
12   (“CPSC”) began working with manufacturers to recall inclined sleepers because of
13   their associated sleeping risks. Despite these recalls and the known risks associated
14   with inclined baby products, Defendants did not issue a recall of the Little Lounger
15   until January 29, 2020, more than nine months after it became public knowledge that
16   inclined sleepers are unsafe for infants. Defendants have not recalled the
17   DreamGlider.
18         7.     On January 29, 2020, after warnings from the CPSC and other agencies
19   and groups as described herein, Defendants recalled approximately 111,000 Little
20   Loungers.
21         8.     Plaintiff brings claims against Defendants individually and on behalf of
22   a class of similarly situated purchasers of the Little Loungers for (1) fraud; (2) unjust
23   enrichment; (3) breach of express warranty; (4) breach of implied warranty; (5)
24   violation of California’s Consumer Legal Remedies Act (“CLRA”), Cal. Civil Code
25   § 1750, et seq.; (6) violation of California’s Unfair Competition Law (“UCL”), Cal.
26   Bus. & Prof. Code §§ 17200, et seq.; (7) violation of California’s False Advertising
27   Law (“FAL”), Cal. Bus. & Prof. Code §§ 17500, et seq.
28
     CLASS ACTION COMPLAINT                                                                   3
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1                                          PARTIES
2          9.     Plaintiff Nayonna Brezinski is, and at all times relevant to this action

3    has been, a resident of Moreno Valley, California. On July 10, 2018, Ms. Brezinski

4    purchased Defendants’ Little Lounger Rocking Seat from a Walmart store located in

5    Moreno Valley, California. Before purchasing the Little Lounger, Ms. Brezinski

6    saw, read, and relied on Defendants’ representations that the Little Lounger was

7    suitable for infants. Ms. Brezinski would not have purchased the Little Lounger had

8    she known that there was a significant risk that the Little Lounger was dangerous and

9    unfit to perform its intended purpose.

10         10.    Defendant Newell Brands DTC, Inc. is a Delaware corporation with its

11   principal place of business at 6655 Peachtree Dunwoody Road, Atlanta, GA, 30328.

12   Newell manufactures, markets, and distributes the Inclined Sleepers throughout the

13   United States.

14
           11.    Defendant Graco Children’s Products, Inc. is a Delaware corporation
15
     with its principal place of business at 6655 Peachtree Dunwoody Road, Atlanta, GA,
16
     30328. Graco Children’s Products is a wholly owned subsidiary of Newell. Graco
17
     manufactures, markets, and distributes the Inclined Sleepers throughout the United
18
     States.
19
                               JURISDICTION AND VENUE
20
           12.    This Court has subject matter jurisdiction over this action pursuant to 28
21
     U.S.C. § 1332(d) because there are more than 100 class members and the aggregate
22
     amount in controversy exceeds $5,000,000, exclusive of interest, fees, and costs, and
23
     at least one Class member is a citizen of a state different from Defendants.
24
           13.    This Court has personal jurisdiction over Defendant Newell Brands
25
     because Newell conducts substantial business within California such that Defendant
26
     has significant, continuous, and pervasive contacts with the State of California.
27
     Newell is registered to do business in the State of California.
28
     CLASS ACTION COMPLAINT                                                                  4
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1          14.    This Court has personal jurisdiction over Defendant Graco Children’s
2    Products, Inc. because Graco conducts substantial business within California such
3    that Defendant has significant, continuous, and pervasive contacts with the State of
4    California. Graco is registered to do business in the State of California.
5          15.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 because
6    Defendants do substantial business in this District and a substantial part of the events
7    giving rise to Plaintiff Brezinski’s claims took place within this District.
8                         COMMON FACTUAL ALLEGATIONS
9          16.    Defendants are some of the world’s most recognized and trusted baby
10   product companies. They tout that “their approach to caregiving stems from a
11   heritage of innovation designed around safety, durability, and the best intentions of
12   loving parents.” Their “number one priority is safety for the children who depend on
13   their products every day.”
14         17.    Defendants’ Inclined Sleepers are popular because they combine the
15   features of a rocking seat with the features of an infant sleeper.
16         18.    Inclined sleepers “are elevated, intended to be placed on the floor, and
17   are self-supporting. Typically, this design uses a metal frame covered by a fabric
18   insert that contains the occupant. Some frame-type products have a rigid plastic
19   insert under the sleeping surface, and/or extra padding with head positioning
20   cushions. The base may be stationary or allow side-to-side/head-to-toe rocking.
21   This type of product could have a fixed incline or be adjustable. Frame-type
22   products can be intended for use by newborns or infants, or both, depending on the
23   size of the product.”2
24         19.    Under the definition described above, the Little Lounger, DreamGlider,
25   and Duet Glide are all inclined sleepers that incline upwards on one end to raise a
26   baby’s head and torso up to between 10 and 30 degrees. The Inclined sleepers are
27   2
      https://www.cpsc.gov/s3fs-public/SupplementalNoticeofProposedRulemaking
28   forInfantSleepProducts_10_16_2019.pdf (last accessed February 18, 2020).
     CLASS ACTION COMPLAINT                                                                  5
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1    nearly identical in design and all serve identical purpose. As of October 16, 2019,
2    the CPSC was aware of 451 – 59 fatal and 392 nonfatal – incidents relating to infant
3    inclined sleep products that occurred from January 1, 2005 through June 30, 2019.
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          Left: Little Lounger           Middle: Duet Glide            Right: DreamGlider
11
              20.   The Inclined Sleepers all feature tabs that parents pull to lift the Inclined
12
     Sleepers from a supine position to an inclined position, elevating an infants’ head up
13
     to a 30-degree angle from the lowest part of the baby’s torso. The sleeper also
14
     feature multi-point restraints, which are intended to limit the baby’s motion at the
15
     hips and waist. They also feature hard plastic external shells covered in plush
16
     padding upon which the baby is placed. The different models of the Inclined
17
     Sleepers share this basic design.
18
              21.   None of the Inclined Sleepers warn parents that the Inclined Sleepers
19
     should be lowered to a horizontal position when infants are asleep.
20
              22.   The CPSC classifies the Little Lounger as an inclined sleeper.3
21
22
23
24
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26
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28
     3
         https://www.cpsc.gov/SafeSleep (last accessed February 18, 2020).
     CLASS ACTION COMPLAINT                                                                    6
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1          23.    The Little Lounger’s design also mirrors the design of other inclined
2    sleepers that have been recalled, including the Fisher -Price Rock N’ Play:
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12         Left: Fisher-Price Rock ‘N Play              Right: Graco Little Lounger
13         24.    Defendants, who designed, manufactured, marketed and sold the
14   Inclined Sleepers have known of the risks posed by the product throughout the time
15   they designed, manufactured, marketed and sold the Inclined Sleepers. They,
16   nonetheless, continued to market them for years as safe environments for sleep for
17   infants, placing thousands of infants at risk.
18         25.    Despite knowing that the Inclined Sleepers are unsafe for sleeping
19   infants, Defendants marketed and sold the products as suitable for infants. In fact,
20   the DreamGlider’s packaging features “sleeper” and “sleep” on the packaging in
21   multiple places. Similarly, the packaging features a sleeping infant. The Duet Glide
22   claims that the seat “doubles as a portable napper for use throughout the house.” The
23   Little Loungers promise that parents will “find just the right position for baby’s
24   comfort with the multi-position reclining seat.”
25         26.    In their January 29, 2020 recall, Defendants admit that they recalled the
26   Little Lounger because of infant fatalities “reported with other manufacturers’
27
28
     CLASS ACTION COMPLAINT                                                                 7
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1    inclined sleep products.” As such, Defendants themselves consider the Little
2    Lounger an inclined sleeper.4
3             27.     In 2019, after the danger of inclined sleepers became public knowledge,
4    Defendants renamed the DreamGlider, quietly removing “& Sleeper” from its name.
5    Defendants did not issue a recall for the product and continued to sell versions of the
6    product with packaging containing the “& Sleeper” title.
7             28.     Defendants have not recalled the Duet Glide.
8        I.         Infant Safety And Warnings To Defendants
9             29.     The National Institutes of Health (“NIH”) of the United States
10   Department of Health and Human Services and other federal and national
11   organizations have worked with the AAP, a non-profit group with a membership of
12   66,000 primary care pediatricians, pediatric medical subspecialists and pediatric
13   surgical specialists, to develop safe sleep standards for babies.5 Defendants, as
14   manufacturers and marketers of widely sold infant sleepers, are well aware of NIH
15   and AAP standards.
16            30.     In 1992, before Defendants introduced the Inclined Sleepers to the U.S.
17   market, the American Academy of Pediatrics (“AAP”) released its recommendation
18   that babies should be placed on their backs to sleep. Subsequently, while deaths from
19   sudden infant death syndrome (SIDS) decreased, infant deaths from other causes
20   including suffocation, entrapment, and asphyxia did not.
21            31.     In November 2005, the AAP issued a Policy Statement entitled – The
22   Changing Concept of Sudden Infant Death Syndrome: Diagnostic Coding Shifts,
23   Controversies Regarding the Sleeping Environment, and New Variables to Consider
24
25
     4
26     https://www.cpsc.gov/Recalls/2020/Graco-Recalls-Little-Lounger-Rocking-Seats-
     to-Prevent-Risk-of-Suffocation (last accessed February 18, 2020).
27   5
       https://www.nih.gov/news-events/news-releases/federal-agencies-express-support-
28   updatedsafe-infant-sleep-recommendations (last visited February 18, 2020).
     CLASS ACTION COMPLAINT                                                                 8
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 1    in Reducing Risk – which contained detailed guidelines and recommendations on
 2    safe sleep for infants.6 These included:
 3            “Back to sleep: Infants should be placed for sleep in a supine position
 4                (wholly on the back) for every sleep.” (Emphasis added).
 5            “Use a firm sleep surface: Soft materials or objects . . . should not be
 6                placed under a sleeping infant. A firm crib mattress, covered by a sheet,
 7                is the recommended sleeping surface.”
 8          32.      In January 2006, the NIH issued a news release adopting the AAP’s
 9    Guidelines.7 Among other things, the NIH stated:
10          The [AAP] recently issued updated recommendations for reducing the of
11          SIDS:
12                 Always place your baby on his or her back to sleep, for naps and at
13                   night
14                 Place your baby on a firm sleeping surface, such as on a safety-
15                   approved crib mattress, covered by a fitted sheet.
16          33.      In October 2011, the AAP issued an updated Policy Statement, which
17    expanded the guidelines and recommendations on safe sleep for babies.8 The
18    recommendations stated:
19                 Infants should be placed “back to sleep for every sleep” in the supine
20                   position, wholly on his or her back. “The supine sleeping position does
21                   not increase the risk of choking and aspiration in infants, even those
22                   with gastro-esophageal reflux.”
23
24    6
        https://pediatrics.aappublications.org/content/116/5/1245 (last accessed February
25    18, 2020).
      7
26      https://www.nichd.nih.gov/newsroom/releases/sids_winter (last accessed February
      18, 2020).
27    8
        https://pediatrics.aappublications.org/content/128/5/1030 (last accessed February
28    18, 2020).
      CLASS ACTION COMPLAINT                                                                   9
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 1                 “Elevating the head of the infant's crib while the infant is supine is
 2                   not recommended. It is ineffective in reducing gastroesophageal reflux;
 3                   in addition, it might result in the infant sliding to the foot of the crib into
 4                   a position that might compromise respiration.”
 5                 “Although data to make specific recommendations as to when it is safe
 6                   for infants to sleep in the prone or side position are lacking, studies that
 7                   have established prone and side sleeping as risk factors for SIDS
 8                   include infants up to 1 year of age. Therefore, infants should continue to
 9                   be placed supine until 1 year of age. Once an infant can roll from
10                   supine to prone and from prone to supine, the infant can be allowed to
11                   remain in the sleep position that he or she assumes.”
12                 “Use a firm sleep surface—A firm crib mattress, covered by a fitted
13                   sheet, is the recommended sleeping surface to reduce the risk of SIDS
14                   and suffocation.”
15                 “A crib, bassinet, or portable crib/play yard that conforms to the safety
16                   standards of the Consumer Product Safety Commission…is
17                   recommended.”
18                 “Soft materials…should not be placed under a sleeping infant.”
19                 “Sitting devices, such as car safety seats, strollers, swings, infant
20                   carriers, and infant slings, are not recommended for routine sleep in
21                   the hospital or at home. Infants who are younger than 4 months are
22                   particularly at risk, because they might assume positions that can create
23                   risk of suffocation or airway obstruction.”
24    (Emphasis added).
25          34.      On October 24, 2016, the AAP issued a further updated policy
26    statement – SIDS and Other Sleep-Related Infant Deaths: Updated 2016
27    Recommendations for a Safe Infant Sleeping Environment – reaffirming and further
28
      CLASS ACTION COMPLAINT                                                                     10
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 1    developing the guidelines and recommendations on safe sleep for babies.9 The
 2    recommendations included:
 3                 “Recommendations for a safe sleep environment include supine
 4                   positioning, the use of a firm sleep surface, . . . and the avoidance of
 5                   soft bedding . . . .”
 6                 “[M]anufacturers should follow safe sleep guidelines in their
 7                   messaging and advertising.”
 8                 “If an infant falls asleep in a sitting device, he or she should be
 9                   removed from the product and moved to a crib or other appropriate
10                   flat surface as soon as is safe and practical.”
11                 “Media and manufacturers should follow safe sleep guidelines in
12                   their messaging and advertising. . . . Media and advertising messages
13                   contrary to safe sleep recommendations may create misinformation
14                   about safe sleep practices.”
15    (Emphasis added).
16          35.      On October 16, 2019, the CPSC issued a Draft Supplemental Notice of
17    Rulemaking with respect to inclined infant sleep products which “proposes to limit
18    the seat back angle for sleep to 10 degrees or less, and to change the scope of the
19    standard to cover products intended for infant sleep that are not already addressed by
20    another standard.”10 This would have the effect of banning the Inclined Sleepers
21    because it places the infant to sleep at angles between 10 and 30 degrees. The
22    Supplemental Notice of Rulemaking further disclosed that 59 infant fatalities were
23    reported to the CPSC in connection with inclined infant sleep products.
24
25    9
        https://pediatrics.aappublications.org/content/138/5/e20162938 (last accessed
      February 18, 2020). Although issued on October 24, 2016, the recommendations are
26    dated November 2016.
27    10
         https://www.cpsc.gov/s3fs-public/SupplementalNoticeofProposedRulemaking
28    forInfantSleepProducts_10_16_2019.pdf (last accessed February 18, 2020).

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 1               36.     The Inclined Sleepers are not cribs or mattresses. They feature raised
 2    soft padding and can be positioned to an angle similar to that of a car seat or carrier.
 3    Simply put, they are unsafe under AAP and NIH Guidelines.
 4               37.     Despite these numerous warnings, Defendants marketed and sold the
 5    Inclined Sleepers, which position infants at varying levels of incline, in restraints,
 6    and on soft padded material, as a suitable sleeping environment for infants.
 7               38.     Further, Although Defendants knew of the AAP’s warning that
 8    “manufacturers should follow safe sleep guidelines in their messaging and
 9    advertising,” and advertising messages contrary to safe sleep recommendations may
10    create misinformation about safe sleep practices,” Defendants continued to market
11    and sell the Inclined Sleepers as suitable for infants.
12         II.         The Inadequate and Belated Recall
13               39.     On January 29, 2020, more than three months after the CPSC issued its
14    notice of rulemaking, Defendant issued the first, and only, recall for its Inclined
15    Sleepers (the “Recall”) The recall was limited to the Little Lounger. To date,
16    Defendant has not recalled the Duet Glide or the DreamGlider.
17               40.     In the recall notice, Defendants stated that the recall was initiated
18    because “Infant fatalities have been reported with other manufacturers’ inclined
19    sleep products, after infants rolled from their back to their stomach or side, or under
20    other circumstances.”11 (Emphasis added).
21               41.     However, product recalls have a notoriously low level of participation.
22    This recall is designed to be no different. Defendants’ Recall is cumbersome,
23    inconvenient, restrictive, and confusing to the general public. Parents who own the
24    product must submit an online form to initiate the recall process and receive a recall
25    kit. When parents receive the recall kit, they are required to cut out a portion of the
26    product padding and mail it back to Graco.
27    11
        https://www.cpsc.gov/Recalls/2020/graco-recalls-little-lounger-rocking-seats-to-
28    prevent-risk-of-suffocation (last accessed February 18, 2020).
      CLASS ACTION COMPLAINT                                                                      12
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 1           42.     Defendants have been on notice of the risks associated with the Inclined
 2    Sleepers for years and did nothing about it. The Recall is insufficient because it is
 3    calculated to ensure as few returns as possible.
 4       III.      Defendants’ Deceptive Advertising and Marketing
 5           43.     Despite their knowledge of the AAP’s guidelines and consumer groups’
 6    recommendations that babies sleep supine, that their heads not be elevated, that they
 7    sleep on a firm surface without soft materials, and that inclined sitting devices such
 8    as car seats, strollers, swings, infant carriers, and infant slings are not recommended
 9    for routine sleep, that the parents should be warned to remove their infants from
10    inclined sleepers if they fall sleep, Defendants have marketed – and in the case of the
11    DreamGlider and Duet Glider – continue to market the Inclined Sleepers as suitable
12    for infants.
13           44.     Defendants’ deceptive advertising of the Inclined Sleepers takes two
14    primary forms: online and in-store. Online advertising appears on the Graco website
15    as well as other websites where the product was sold (such as Amazon.com). In
16    store advertising appears in the numerous stores where the Inclined Sleepers are sold.
17           45.     Defendants’ deceptive advertising of the Inclined Sleepers starts with
18    their names: “Lounge,” “Sleeper,” and “Portable Sleeper.” By naming the products
19    as such, Defendants misled consumers into believe that the products are safe and
20    suitable for babies to sleep. A reasonable consumer would assume that the Inclined
21    Sleepers’ designs are consistent with the applicable guidelines and recommendations
22    about how babies should be safely placed to sleep. As described above, the Inclined
23    Sleepers are unfit for use as infant sleepers.
24           46.     The marketing statements conflict with the AAP’s Guidelines and
25    recommendations, and those of other infant sleep experts.
26           47.     For example, Defendants’ statements that the Little Lounger “has
27    multiple recline positions, so that it’s easy to find the right position for baby’s
28    comfort” is in contrast to the AAP’s guidelines and recommendations that babies
      CLASS ACTION COMPLAINT                                                                  13
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 1    sleep supine and that their heads not be elevated. The DreamGlider features a
 2    similar claim, stating that the “seat reclines with an easy, one-hand motion, giving
 3    your baby a safe and comfortable spot to rest without having to be moved from the
 4    swing.” The Duet Glider claims that the “seat conveniently doubles as a portable
 5    napper,” with “3 position recline for optimal comfort.”
 6          48.    Defendants’ statement that the Little Lounger has “comfortable, plush
 7    fabric” is also contrary to the AAP’s guideline and recommendation that soft
 8    materials should not be placed under a sleeping infant. Defendants make similar
 9    claims regarding the DreamGlider, stating that the “cozy seat combined with plush
10    body support and a three-position recline offers optimal comfort for baby.” The
11    Duet Glider also includes these claims stating that the product has “plush softgoods
12    with full body support for added comfort.”
13          49.    Further, Graco has sponsored reviews of the Inclined Sleepers,
14    perpetuating the claim that the Inclined Sleepers are suitable for infant sleep. For
15    example, in September 2013, one paid reviewer stated that the Little Lounger would
16    be perfect for “sleeping, resting, rocking, and vibrating” and that they used the Little
17    Lounger “in place of a bassinet.” Another sponsored review from November 2013
18    claimed that the Little Lounger “is what the baby will sleep in at night.”
19          50.    Defendants’ deceptive marketing of the products as suitable for infant
20    “lounging or sleeping” is material to consumers’ decisions to purchase and/or own
21    the Inclined Sleepers, because it causes consumers to reasonably believe the product
22    is safe. Defendants should not have marketed, and should not be marketing, the
23    Inclined Sleepers as suitable for infants. Alternatively, Defendants should have
24    disclosed in their marketing statements that using the products for sleep is dangerous
25    and contrary to medical guidelines and recommendations because this information
26    would be material to a consumer’s decision as to whether to purchase and/or own the
27    Inclined Sleepers.
28
      CLASS ACTION COMPLAINT                                                                 14
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 1          51.    Defendants’ deceptive marketing of the Inclined Sleepers, as suitable
 2    for infant “lounging or sleeping” when its use as such conflicts with the applicable
 3    medical guidelines and recommendations not only exposed Class members’ infants
 4    to serious risk of injury and even death, but it also induced consumers who would
 5    not have otherwise purchased the Inclined Sleepers to purchase it, to own, and/or pay
 6    a higher price than they would have otherwise paid for the product were it not false
 7    or misleadingly advertised.
 8          52.    Defendants’ marketing has led consumers of the Inclined Sleepers to
 9    believe that the products have been tested, comply with all applicable regulations and
10    laws, and are fit for their intended use.
11          53.    Defendants profited enormously from their failure to disclose the risk of
12    the Inclined Sleepers to consumers, and from their affirmative statements
13    representing that the Inclined Sleepers are suitable for infants.
14                      CLASS REPRESENTATION ALLEGATIONS
15          54.    Plaintiff Brezinski seeks to represent a class defined as all persons in the
16    United States who purchased the Inclined Sleepers from February 25, 2016 to the
17    present (the “Class”). Excluded from the Class are persons who made such
18    purchases for purpose of resale.
19          55.    Plaintiff Brezinski also seeks to represent a subclass of all Class
20    Members who purchased the Inclined Sleepers in the State of California (the
21    “California Subclass”).
22          56.    Members of the Class and California Subclass are so numerous that
23    their individual joinder herein is impracticable. On information and belief, members
24    of the Class and California Subclass number in the tens or hundreds of thousands.
25    The precise number of Class Members and their identities are unknown to Plaintiff at
26    this time but may be determined through discovery. Class Members may be notified
27    of the pendency of this action by mail and/or publication through the distribution
28    records of Defendants and third-party retailers and vendors.
      CLASS ACTION COMPLAINT                                                                 15
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 1          57.    There is a well-defined community of interest in the questions of law
 2    and fact involved in this case. Questions of law and fact common to the members of
 3    the Class that predominate over questions that may affect individual Class members
 4    include, but are not limited to:
 5                 a.     whether Defendants misrepresented and/or failed to disclose
 6                        material facts concerning the Products;
 7                 b.     whether Defendants’ conduct was unfair and/or deceptive;
 8                 c.     whether Defendants have been unjustly enriched as a result of the
 9                        unlawful conduct alleged in this Complaint such that it would be
10                        inequitable for Defendants to retain the benefits conferred upon
11                        Defendants by Plaintiff and the Class;
12                 d.     whether Plaintiff and the Class have sustained damages with
13                        respect to the common law claims asserted, and if so, the proper
14                        measure of their damages.
15          58.    Plaintiff’s claims are typical of those of the Class because Plaintiff, like
16    all members of the Class, purchased, in a typical consumer setting, Defendants’
17    Inclined , and Plaintiff sustained damages from Defendants’ wrongful conduct.
18          59.    Plaintiff will fairly and adequately protect the interests of the Class and
19    Subclass and has retained counsel that is experienced in litigating complex class
20    actions. Plaintiff has no interests which conflict with those of the Class or the
21    Subclass.
22          60.    A class action is superior to other available methods for the fair and
23    efficient adjudication of this controversy.
24          61.    The prosecution of separate actions by members of the Class and the
25    Subclass would create a risk of establishing inconsistent rulings and/or incompatible
26    standards of conduct for Defendants. For example, one court might enjoin
27    Defendants from performing the challenged acts, whereas another might not.
28    Additionally, individual actions could be dispositive of the interests of the Class and
      CLASS ACTION COMPLAINT                                                                 16
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 1    the Subclass even where certain Class or Subclass members are not parties to such
 2    actions.
 3                                              COUNT I
                                                 (Fraud)
 4
            62.    Plaintiff incorporates by reference and re-alleges herein all paragraphs
 5
      alleged above.
 6
            63.    Plaintiff brings this claim individually and on behalf of the members of
 7
      the proposed Class and Subclass against Defendants.
 8
            64.    This claim is based on fraudulent representations and omissions
 9
      concerning the safety of consumers who use the Inclined Sleepers. As discussed
10
      above, Defendants failed to disclose that the risks associated with the intended use of
11
      the Inclined Sleepers, or that the risks were substantially likely to manifest through
12
      the customary and intended use of the Inclined Sleepers. Defendants also
13
      represented the Inclined Sleepers as safe for infants, which they were not.
14
            65.    The false and misleading representations and omissions were made with
15
      knowledge of their falsehood. Defendants are nationwide children’s product
16
      distributors who knew of reports of the Inclined Sleepers’ dangerous nature.
17
      Nonetheless, Defendants continued to sell their worthless and dangerous Inclined
18
      Sleepers to unsuspecting consumers.
19
            66.    The false and misleading representations and omissions were made by
20
      Defendants, upon which Plaintiff and members of the proposed Class and Subclass
21
      reasonably and justifiably relied, and were intended to induce and actually induced
22
      Plaintiff and members of the proposed Class and California Subclass to purchase the
23
      Inclined Sleepers.
24
            67.    The fraudulent actions of Defendants caused damage to Plaintiff and
25
      members of the proposed Class and Subclass, who are entitled to damages and other
26
      legal and equitable relief as a result.
27
28
      CLASS ACTION COMPLAINT                                                                   17
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 1                                        COUNT II
                                      (Unjust Enrichment)
 2
            68.    Plaintiff incorporates by reference and re-alleges herein all paragraphs
 3
      alleged above.
 4
            69.    Plaintiff brings this claim individually and on behalf of the members of
 5
      the proposed Class and Subclass against Defendants.
 6
            70.    Plaintiff and Class members conferred benefits on Defendants by
 7
      purchasing the Inclined Sleepers.
 8
            71.    Defendants have been unjustly enriched in retaining the revenues
 9
      derived from Plaintiff’s and Class members’ purchases of the Inclined Sleepers.
10
      Retention of those moneys under these circumstances is unjust and inequitable
11
      because Defendants failed to disclose that the Inclined Sleepers were unfit for their
12
      intended use, or that the risks were substantially likely to manifest through the
13
      customary and intended use of the Inclined Sleepers. These omissions caused
14
      injuries to Plaintiff and Class members because they would not have purchased the
15
      Inclined Sleepers if the true facts were known.
16
            72.    Retention of those moneys also is unjust and inequitable because, as
17
      alleged above, Defendants commenced an ineffective recall that was calculated to
18
      result in few returns, and generally no refunds, thereby protecting profits Defendants
19
      collected from selling the Inclined Sleepers.
20
            73.    Because Defendants’ retention of the non-gratuitous benefits conferred
21
      on them by Plaintiff and Class members is unjust and inequitable, Defendants must
22
      pay restitution to Plaintiff and Class members for its unjust enrichment, as ordered
23
      by the Court.
24
                                          COUNT III
25                               (Breach of Express Warranty)
26          74.    Plaintiff incorporates by reference and re-alleges herein all paragraphs

27    alleged above.

28          75.    Plaintiff brings this claim individually and on behalf of the members of
      CLASS ACTION COMPLAINT                                                                  18
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 1    the proposed Class and Subclass against Defendants.
 2            76.   Defendants are, and at all relevant times were, a merchant engaged in
 3    the business of manufacturing and distributing, among other things, Inclined
 4    Sleepers. Defendants sold the Inclined Sleepers in the regular course of business and
 5    Plaintiff and Class members purchased the Inclined Sleepers.
 6            77.   Defendants expressly warranted to all consumers that the Inclined
 7    Sleepers were appropriate and safe for infant use, which became the basis of the
 8    bargain between Defendants and Plaintiff and Class members.
 9            78.   Defendants gave these express warranties to Plaintiff and Class
10    members in written form on the packaging of the Inclined Sleepers as well as
11    through the marketing and advertising described herein.
12            79.   Defendants’ written affirmations of fact, promises, and/or descriptions
13    as alleged are each a written warranty.
14            80.   Defendants breached their express warranties because their
15    representations and statements alleged herein are false and the Inclined Sleepers did
16    not contain the properties Defendants represented. Despite warranting the Inclined
17    Sleepers as suitable for infant use, Defendants knew that there were risks associated
18    with the Inclined Sleepers and failed to inform Plaintiff and the Class members as
19    such.
20            81.   By placing the Inclined Sleepers in the stream of commerce, Defendants
21    further warranted that the Inclined Sleepers were safe to use and complied with
22    applicable guidelines.
23            82.   Defendants breached their warranties because, contrary to their
24    representations, the Inclined Sleepers are not suitable for infant use, and do not
25    comply with applicable guidelines and recommendations for safe infant use.
26            83.   As a direct and proximate result of this breach of warranty by
27    Defendants, Plaintiff and other consumers have been damaged by paying monies for
28    products that are completely unusable. Plaintiff seeks damages in an amount to be
      CLASS ACTION COMPLAINT                                                                19
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 1    proven at trial for the injuries suffered from Defendants’ breach of express
 2    warranties. The damages suffered by Plaintiff and the Class Members include, but
 3    are not limited to, the monies paid to Defendants for the Inclined Sleepers.
 4                                       COUNT IV
                  (Breach of Implied Warranty of Fitness and Merchantability)
 5
            84.     Plaintiff incorporates by reference and re-alleges herein all paragraphs
 6
      alleged above.
 7
            85.     Plaintiff brings this claim individually and on behalf of the members of
 8
      the proposed Class and Subclass against Defendants.
 9
            86.     Defendants are, and at all relevant times were, a merchant engaged in
10
      the business of manufacturing and distributing, among other things, the Inclined
11
      Sleepers
12
            87.     Plaintiff and the Class Members purchased the Inclined Sleepers.
13
            88.     Defendants are manufacturers and merchants with respect to goods of
14
      this kind, which were sold to Plaintiff and other consumers, and there was in the sale
15
      to Plaintiff and other consumers an implied warranty that those goods were
16
      merchantable and that they were fit for their intended use as infant sleepers.
17
            89.     However, Defendants breached that warranty implied in the contract for
18
      the sale of goods in that the Inclined Sleepers are completely unusable, lack even the
19
      most basic degree of fitness for ordinary or intended use, and are not safe for human
20
      use as set forth in detail herein above.
21
            90.     The Inclined Sleepers are defective and unusable because they were
22
      distributed to the public with extreme safety risks, and because those risks were
23
      substantially likely to manifest through the customary and intended use of the
24
      Inclined Sleepers. As a result, the Inclined Sleepers were not usable and dangerous
25
      to the health and well-being of its consumers.
26
            91.     Defendants admitted that the Little Loungers were completely unusable
27
      and unfit for normal use when it initiated the Recall described in detail herein above.
28
      CLASS ACTION COMPLAINT                                                                20
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 1          92.      As a direct and proximate result of this breach of warranty by
 2    Defendants, Plaintiff and other consumers have been damaged by paying monies for
 3    products that are completely unusable and unfit for their intended purpose.
 4          93.      Plaintiff seeks damages in an amount to be proven at trial for the
 5    injuries suffered from Defendants’ breach of the implied warranties. The damages
 6    suffered by Plaintiff and the Class Members include, but are not limited to, the
 7    monies paid to Defendants for the Inclined Sleepers.
 8          94.      As a result of Defendants’ conduct, Plaintiff did not receive goods as
 9    impliedly warranted by Defendants to be merchantable.
10                                        COUNT V
           (Violation Of California’s Consumers Legal Remedies Act (“CLRA”),
11                             Cal. Civil Code §§ 1750, et seq.)
12          95.      Plaintiff hereby incorporates by reference the allegations contained in
13    all preceding paragraphs of this complaint.
14          96.      Plaintiff Brezinski brings this claim individually and on behalf of the
15    California Subclass against Defendants.
16          97.      California’s Consumers Legal Remedies Act, Cal. Civ. Code §
17    1770(a)(5), prohibits “[r]epresenting that goods or services have sponsorship,
18    approval, characteristics, ingredients, uses, benefits, or quantities which they do not
19    have or that a person has a sponsorship, approval, status affiliation, or connection
20    which he or she does not have.”
21          98.      California’s Consumers Legal Remedies Act, Cal. Civ. Code §
22    1770(a)(7), prohibits “[r]epresenting that goods or services are of a particular
23    standard, quality, or grade, or that goods are of a particular style or model, if they are
24    of another.”
25          99.      California’s Consumers Legal Remedies Act, Cal. Civ. Code §
26    1770(a)(9) disallows “[a]dvertising goods or services with intent not to sell them as
27    advertised.”
28
      CLASS ACTION COMPLAINT                                                                   21
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 1          100. Defendants violated this provision by misrepresenting that the Inclined
 2    Sleepers were safe for infants.
 3          101. Plaintiff Brezinski and the California Subclass suffered injuries caused
 4    by Defendants because: (a) they would not have purchased the Inclined Sleepers on
 5    the same terms if the true facts were known about the product; (b) they paid a price
 6    premium for the Inclined Sleepers due to Defendants’ promises that they were
 7    suitable for infants; and (c) the Inclined Sleepers do not have the characteristics as
 8    promised by Defendants.
 9          102. On February 19, 2020, prior to the filing of this Complaint, Plaintiff’s
10    counsel sent Defendants a notice letter, which complies in all respects with
11    California Civil Code §1782(a). The letter was sent via certified mail, return receipt
12    requested, advising Defendants that it was in violation of the CLRA and demanding
13    that it cease and desist from such violations and make full restitution by refunding
14    the monies received therefrom. The letter stated that it was sent on behalf of
15    Plaintiff Brezinski, and all other similarly situated purchasers. Defendants did not
16    respond to the letter.
17                                       COUNT VI
                (Violation Of California’s Unfair Competition Law (“UCL”),
18                         Cal. Bus. & Prof. Code §§ 17200, et seq.)
19          103.    Plaintiff hereby incorporates by reference the allegations contained in
20    all preceding paragraphs of this complaint.
21          104. Plaintiff Brezinski brings this claim individually and on behalf of the
22    members of the California Subclass against Defendants.
23          105. Defendants are subject to California’s Unfair Competition Law, Cal.
24    Bus & Prof. Code §§ 17200, et seq. The UCL provides, in pertinent part: “Unfair
25    Competition shall mean and include unlawful, unfair, or fraudulent business
26    practices and unfair, deceptive, untrue, or misleading advertising ….”
27          106. Defendants’ misrepresentations and other conduct, described herein,
28
      CLASS ACTION COMPLAINT                                                                   22
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 1    violated the “unlawful” prong of the UCL by violating the CLRA as described
 2    herein; the FAL as described herein; and Cal. Com. Code § 2607.
 3          107. Defendants’ misrepresentations and other conduct, described herein,
 4    violated the “unfair” prong of the UCL in that their conduct is substantially injurious
 5    to consumers, offends public policy, and is immoral, unethical, oppressive, and
 6    unscrupulous, as the gravity of the conduct outweighs any alleged benefits.
 7          108. Defendants violated the “fraudulent” prong of the UCL by making
 8    misrepresentations about the Inclined Sleepers, as described herein.
 9          109. Plaintiff Brezinksi and the California Subclass lost money or property as
10    a result of Defendants’ UCL violations because: (a) they would not have purchased
11    the Inclined Sleepers on the same terms if the true facts were known about the
12    product; (b) they paid a price premium for the Inclined Sleepers due to Defendants’
13    promises that they suitable for infants; and (c) the Inclined Sleepers do not have the
14    characteristics as promised by Defendants.
15                                      COUNT VII
                 (Violation Of California’s False Advertising Law (“FAL”),
16                        Cal. Bus. & Prof. Code §§ 17500, et seq.)
17          110. Plaintiff hereby incorporates by reference the allegations contained in
18    all preceding paragraphs of this complaint.
19          111. Plaintiff Brezinski brings this claim individually and on behalf of the
20    members of the California Subclass against Defendants.
21          112. California’s False Advertising Law, Cal. Bus. & Prof. Code §§ 17500,
22    et seq., makes it “unlawful for any person to make or disseminate or cause to be
23    made or disseminated before the public in this state, …in any advertising device …
24    or in any other manner or means whatever, including over the Internet, any
25    statement, concerning … personal property or services, professional or otherwise, or
26    performance or disposition thereof, which is untrue or misleading and which is
27
28
      CLASS ACTION COMPLAINT                                                               23
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 1    known, or which by the exercise of reasonable care should be known, to be untrue or
 2    misleading.”
 3          113. Defendants committed acts of false advertising, as defined by § 17500,
 4    by misrepresenting that the Inclined Sleepers are safe for infants.
 5          114. Defendants knew or should have known, through the exercise of
 6    reasonable care that its representations about the Inclined Sleepers were untrue and
 7    misleading.
 8          115. Defendants’ actions in violation of § 17500, as described herein, were
 9    false and misleading such that the general public is and was likely to be deceived.
10          116. Plaintiff Brezinski and the California Subclass lost money or property as
11    a result of Defendants’ FAL violations because: (a) they would not have purchased
12    the Inclined Sleepers on the same terms if the true facts were known about the
13    product; (b) they paid a price premium for the Inclined Sleepers due to Defendants’
14    promises that they were suitable for infants; and (c) the Inclined Sleepers do not have
15    the characteristics as promised by Defendants.
16                                    PRAYER FOR RELIEF
17          WHEREFORE, Plaintiff, individually and on behalf of all others similarly
18    situated, seeks judgment against Defendants, as follows:
19           a)      For an order certifying the Class and the California Subclass under
20                   Rule 23 of the Federal Rules of Civil Procedure and naming Plaintiff
21                   Brezinski as a representative of the Class and the California Subclass,
22                   and Plaintiff’s attorneys as Class Counsel to represent the Class and
23                   California Subclass;
24           b)      For an order finding in favor of Plaintiff, the Class, and the California
25                   Subclass on all counts asserted herein;
26           c)      For compensatory, statutory, and punitive damages in amounts to be
27                   determined by the Court and/or jury;
28           d)      For prejudgment interest on all amounts awarded;
      CLASS ACTION COMPLAINT                                                                     24
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 1          e)   For an order of restitution and all other forms of equitable monetary
 2               relief;
 3          f)   For injunctive relief as pleaded or as the Court may deem proper; and
 4          g)   For an order awarding the Plaintiff, the Class, and the California
 5               Subclass their reasonable attorneys’ fees, expenses, and costs of suit.
 6                                     JURY DEMAND
 7         Plaintiff demands a trial by jury on all causes of action and issues so triable.
 8
 9    Dated: February 20, 2020        BURSOR & FISHER, P.A.
10
                                      By:   /s/ Brittany S. Scott
11                                              Brittany S. Scott
12                                    L. Timothy Fisher (State Bar No. 191626)
13                                    Blair E. Reed (State Bar No. 316791)
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23
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24
25
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27
28
      CLASS ACTION COMPLAINT                                                                  25
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 1      CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)
 2          I, Brittany S. Scott, declare as follows:
 3          1.     I am an attorney at law licensed to practice in the State of California and
 4    a member of the bar of this Court. I am an associate at Bursor & Fisher, P.A.,
 5    counsel of record for Plaintiff in this action. I have personal knowledge of the facts
 6    set forth in this declaration and, if called as a witness, I could and would competently
 7    testify thereto under oath.
 8          2.     The Complaint filed in this action is filed in the proper place for trial
 9    under Civil Code Section 1780(d) in that a substantial portion of the events alleged
10    in the Complaint occurred in the Central District of California.
11          I declare under the penalty of perjury under the laws of the State of California
12    and the United States that the foregoing is true and correct and that this declaration
13    was executed at Walnut Creek, California this 20th day of February, 2020.
14
                                                                /s/ Brittany S. Scott   .
15
                                                                    Brittany S. Scott
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28
